
21 N.Y.2d 815 (1968)
In the Matter of Evelyn Ryan, Appellant,
v.
Frederick J. Adler, as City Manager of the City of Yonkers, et al., Respondents.
Court of Appeals of the State of New York.
Argued January 8, 1968.
Decided February 15, 1968.
Wilbur J. Spitzer for appellant.
Francis B. Cline, Corporation Counsel (Richard W. Fulfree of counsel), for respondents.
Concur: Judges SCILEPPI, BERGAN, BREITEL and JASEN. Chief Judge FULD and Judges BURKE and KEATING dissent and vote to reverse on the dissenting opinion at the Appellate Division.
Order affirmed, without costs; no opinion.
